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     Debtor in possession                                                   Central District of California
6                                                                           BY handy      DEPUTY CLERK



7
                                                                   CHANGES MADE BY COURT
8
                                 UNITED STATES BANKRUPTCY COURT
9
                                  CENTRAL DISTRICT OF CALIFORNIA
10
                                            NORTHERN DIVISION
11
      In re:                                                 Case No. 9:18-bk-11391-DS
12
      581 HIGUERA RESTAURANT GROUP,                          Chapter 11
13    LLC
                                                             ORDER RE MOTION IN CHAPTER 11
14                                                           CASE AUTHORIZING DEBTOR IN
                                                             POSSESSION TO EMPLOY GENERAL
15                                            Debtor.        BANKRUPTCY COUNSEL
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19             1. The court has considered the “Notice of Motion and Motion in Chapter 11 Case for

20   Order Authorizing Debtor-in-Possession to Employ General Counsel and File Interim Fee

21   Applications using procedure in LBR 9013-1(o)” (the “Motion,” Docket No. 22).

22             The motion was:        Opposed             Unopposed             Settled by stipulation

23             3. Based upon the motion and supporting documents, and the findings and conclusions

24   made at the hearing if a hearing was held, IT IS ORDERED THAT:

25             a.       The Motion is granted pursuant to 11 U.S.C. § 327 and the Debtor-in-

26   Possession is authorized to employ:

27                  Linda Selig Blonsley, Blonsley Law (General Counsel) effective on (date)            August

28   24, 2018 .
                               Order Approving Employment of General Bankruptcy Counsel
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1             b. General Counsel will seek compensation pursuant to 11 U.S.C.           § 328 or     §
2     330
3             c.     The Motion is denied.
4             4.     Notwithstanding 11 U.S.C. § 331, General Counsel may file interim fee
5     applications in this case               days apart;
6             5.     General Counsel may use the procedures set forth in LBR 9013-1(o) regarding
7     Notice of Opportunity to Request Hearing when requesting approval of interim fee
8     applications in this case; and
9             6.     Other (specify): Counsel’s request to be allowed to use the procedures set forth
10    in LBR 9013-1(o) with respect to interim fee applications is not granted. All fee applications
11    must be noticed for hearing.
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24   Date: October 1, 2018

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                             Order Approving Employment of General Bankruptcy Counsel
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